Haverhill Shoe Novelty Company, Petitioner, v. Commissioner of Internal Revenue, RespondentHaverhill Shoe Novelty Co. v. CommissionerDocket No. 23104United States Tax Court15 T.C. 517; 1950 U.S. Tax Ct. LEXIS 60; October 18, 1950, Promulgated *60 Decision will be entered for the respondent.  During petitioner's taxable year ended June 30, 1946, the daughter of petitioner's treasurer and majority stockholder was married. An elaborate wedding party was given by the bride's father and mother to which were invited some of petitioner's regular customers and potential customers. Petitioner paid part of the expenses of the wedding party and charged some of them on its books to "traveling and entertainment expense" and some of them to "shop expense".  Respondent disallowed the deductions.  Held, the expenses so incurred and paid by petitioner are not deductible as ordinary and necessary business expenses under section 23 (a) (1) (A) of the Internal Revenue Code.  Jason S. Cohen, Esq., for the petitioner.William C. W. Haynes, Esq., for the respondent.  Black, Judge.  BLACK *517  The Commissioner has determined deficiencies in petitioner's income tax for the fiscal years ended June 30, 1945, and June 30, 1946, of $ 113.87 and $ 1,839.15, respectively, and has determined deficiencies in petitioner's declared value excess profits tax for the fiscal years ended June 30, 1945, and June 30, 1946, of $ 655.63 and $ *61  1,484.23, respectively, and has determined deficiencies in petitioner's excess profits tax for *518  the fiscal years ended June 30, 1945, and June 30, 1946, of $ 3,325.51 and $ 3,542.44, respectively.Petitioner does not assign any errors as to the deficiencies determined for the fiscal year ended June 30, 1945.  Therefore, those deficiencies are not in issue.  With respect to the deficiencies determined for the fiscal year ended June 30, 1946, the petitioner assigns the following errors:1. The failure of the Commissioner of Internal Revenue to allow for the fiscal year ended June 30, 1946, deductions in shop expense of $ 1,468.50.2. The failure of the Commissioner of Internal Revenue to allow for the fiscal year ended June 30, 1946, deductions in general expense of $ 4,777.47.In order that petitioner's contentions may be the better understood, we make the following quotations from the facts which it gives in support of its assignments of error:(a) The two items listed in paragraph 4 above totaling $ 6,245.97 represented approximately two-thirds of the total cost of the wedding of the corporation Treasurer's daughter on February 24, 1946.  The total cost of the wedding was*62  approximately $ 9,200.00.(b) There were 350 guests at this wedding; of this number sixty per cent were classified as business guests, i. e. guests who would not have been invited were it not for the ordinary and necessary advertising policy of the corporation.(c) As the total cost of the wedding at the Hotel Bradford in Boston was approximately $ 9,200, and as sixty per cent of the guests were business guests, $ 5,520, should be allowed as proper deductions for the ordinary and necessary advertising expense of the corporation.FINDINGS OF FACT.The petitioner is a corporation engaged in the manufacture of shoe novelties, ornaments, strippings, bows and buckles for the shoe trade.  On February 24, 1946, the daughter of petitioner's treasurer, Bernard Glagovsky, was married at the Hotel Bradford in Boston.  The treasurer, Bernard Glagovsky, the father of the bride, was the majority stockholder of the petitioner and formulated the various policies of the corporation.As treasurer of the corporation and its majority stockholder, he decided to use his daughter's wedding as a means of entertaining some of the corporation's business customers. Thereupon, he compiled a list of business*63  acquaintances and potential business customers and gave this list to his wife who drew up the list of those to be invited to the wedding. Approximately 400 guests were invited. Of this number, 320 guests actually attended the wedding ceremony and the dinner which followed.  About 90 of the 320 guests who attended the ceremony were business customers or potential customers whose names were selected by the corporation's treasurer, Bernard Glagovsky.  *519  This figure of about 90 included wives and other members of the families who attended. None of these 90 guests was a relative, close family friend, social acquaintance, or friend of either the bride or groom.  In addition to the 90 business customers, including their wives and other members of their families who attended the wedding, the treasurer had invited 30 to 40 business guests who did not attend.After the wedding, there was a dinner and reception for the 320 guests in the main ballroom of the Hotel Bradford.  The Hotel Bradford bill for this dinner and reception was $ 4,327.47.  This bill was paid by check of the corporation.  The bill included the following items:320 dinners$ 3,200.00Wedding cake175.00Corkage240.00Soda12.00Gingerale16.20Chicken sandwiches11.00Coke11.20Tax183.27Cigarettes16.80Parking cars12.00Checkroom50.00Gratuities395.00Cheese and crackers5.00*64  The Hotel Bradford bill was entered as "traveling and entertainment" expense on the books of the petitioner.Art Rubin and his orchestra furnished music for the guests after the wedding ceremony. Art Rubin's bill for $ 450 was made out to the Haverhill Shoe Novelty Co.  This bill was paid by check of the corporation and was entered as "traveling and entertainment" expense on the books of the petitioner.There were two liquor bills which the corporation paid by its checks; one was to Beauvais, Inc., in the amount of $ 720.78, and the other was to Cohen's Package Store in the amount of $ 747.72.  These liquor bills included various kinds of liquor. The liquor bills from Beauvais, Inc., and Cohen's Package Store were entered as "shop expense" on the books of the petitioner.  The corporation's treasurer did not know why the liquor bills were included under "shop expense".The two liquor bills, the hotel bill, and the orchestra bill were the only bills for the wedding that were paid by the corporation.  The balance of the cost of the wedding, which was considerable, was paid by Bernard Glagovsky, father of the bride, and is not here in controversy.Petitioner's advertising was confined*65  mainly to advertisements at shoe shows.  This was the first time that petitioner ever sponsored a wedding as a part of its advertising. There were no published advertisements or extensive covering of the wedding and reception. The wedding invitations made no reference to Haverhill Shoe Novelty Co.  At previous entertainments by petitioner, which included dinners for the customers at shoe shows, the wives of the customers were not *520  invited. The wives and adult children were, however, invited to the wedding and reception here involved.  There were only a few, if any, persons invited to the reception and dinner who knew that they would not have been invited except for business reasons.The expenses incurred at the Bradford Hotel for the reception and wedding dinner and music and the liquor expenses in connection with the marriage of the daughter of Bernard Glagovsky, the treasurer of the petitioner corporation, were not ordinary and necessary business expenses of the petitioner for the fiscal year ended June 30, 1946.Petitioner's gross sales as reported on its income tax return for the fiscal year ended June 30, 1946, were $ 1,189,405.11 and its net income as reported on*66  said return was $ 97,193.49.OPINION.The only issue we have to decide is whether part of the expenses of the wedding and reception of the daughter of the treasurer and majority stockholder of the petitioner corporation is properly deductible as ordinary and necessary business expenses of the corporation.  The applicable statute is section 23 (a) (1) (A) of the Internal Revenue Code.  1*67  There can be no doubt but that petitioner made expenditures which aggregated $ 6,245.97 in connection with the wedding and reception of the daughter of Bernard Glagovsky.  The canceled checks and the bills paid are in evidence.  We have no reason to doubt them.  In so far as paying a good part of the bills incurred at the wedding and reception, petitioner corporation acted as "father of the bride." But has petitioner shown that these payments are deductible as ordinary and necessary business expenses?  We think not.  Bernard Glagovsky was the father of the bride and the expenses of the wedding were his personal expenses and are not deductible by the corporation even though the corporation did pay a good part of them.What happened, as we view it, was that in effect the corporation made a gift of these amounts to its treasurer and majority stockholder and gifts are not deductible except to religious, charitable, or educational corporations or foundations.*521  Both parties cite and quote from the Supreme Court's decision in Welch v. Helvering, 290 U.S. 111"&gt;290 U.S. 111. In that case, in commenting upon what is "ordinary" within the meaning of section 23 (a)*68  (1) (A), the Court, among other things, said:* * * Now, what is ordinary, though there must always be a strain of constancy within it, is none the less a variable affected by time and place and circumstance.  Ordinary in this context does not mean that the payments must be habitual or normal in the sense that the same taxpayer will have to make them often.  * * *The petitioner in its brief strongly urges upon us that in the decision of the instant case we give consideration to the foregoing language of the Supreme Court used in defining "ordinary".This we have done but we still remain unconvinced that expenditures of the kind which we have here can be classed as "ordinary and necessary expenses paid or incurred during the taxable year in carrying on any trade or business", as used in the statute.  We think it would be most extraordinary for us to hold that these wedding expenses are allowable business deductions to petitioner.  Quite a wedding party did take place.  There is no doubt about that and large expenses were incurred but we hold that petitioner is not entitled to deduct any part of them as ordinary and necessary business expenses under section 23 (a) (1) (A).Inasmuch*69  as that is the only issue,Decision will be entered for the respondent.  Footnotes1. SEC. 23. DEDUCTIONS FROM GROSS INCOME.In computing net income there shall be allowed as deductions:(a) Expenses.  --(1) Trade or business expenses.  --(A) In General.  -- All the ordinary and necessary expenses paid or incurred during the taxable year in carrying on any trade or business, including a reasonable allowance for salaries or other compensation for personal services actually rendered; traveling expenses (including the entire amount expended for meals and lodging) while away from home in the pursuit of a trade or business; and rentals or other payments required to be made as a condition to the continued use or possession, for purposes of the trade or business, of property to which the taxpayer has not taken or is not taking title or in which he has no equity.↩